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FAX Exh

cecee TO: H KAREEM
*eoee =6Company:

eoceee Fax: 678.987.0576
eeeee Phone:

cceee FROM:
eevee Fax:
eooed Phone:

299° NOTES:

Per request by H Kareem this is the payment history for American
Home Mortgage made through the Bank of America Bill Pay system

Date and time of transmission: Tuesday. November 16, 2010 3:32:38 PM
Number of pages including this cover sheet: 02

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November 16, 2010

Payment
Date

4/16/2008
5/22/2008
6/24/2008
7/18/2008

8/18/2008
ot 0/2008
10/21/2008
11/19/2008
12/23/2008
1/21/2009
2/20/2009
4/1/2009
§/1/2009
5/28/2009
7/2/2009

8/11/2009

Payee Name
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Bankof America.

Bank of America
Interactive Banking
P.O. Box 655961
Dallas, TX 75265-9961

Payment
Account#(Masked) Amount

. 0490
. 0490
. 6490
. 0490

. 0490
. 0490
. 0490
. 6902
. 6490
- 6902
. 6802
. 6902
. 0490
. 0490
. 6902

. 63902

BANK OF AMERICA, NA

CRUSE ROAD INSTORE
BANKING CENTR

950 HERRINGTON F.OAD
CAWRENGEVILE GA SOQ

APTI RON OF

$609.54
$609.54
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DDA#(Masked)
. 1140
. 1140
. 1132
. 1182

. 1132
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